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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS
                                    AT KANSAS CITY

LARRY BLAIR,                                   )
                                               )
       and                                     )
                                               )
CHARLIE DAVIS,                                 ) Civil Action No: 09-CV-2443 EFM/DWB
On Behalf of Themselves and                    )
All Other Persons Similarly Situated,          )
                                               )
       Plaintiffs,                             )
                                               )
       vs.                                     )
                                               )
TRANSAM TRUCKING, INC.,                        )
                                               )
       Defendant.                              )


               MOTION AND MEMORANDUM IN SUPPORT TO ACCEPT
                          AND FOR LEAVE TO FILE
                       CONSENTS TO JOIN OUT OF TIME

       COME NOW Plaintiffs Larry Blair and Charlie Davis, by and through counsel, and

respectfully request that the Court accept certain previously filed Consents to Join and for leave

to file other Consents to Join out of time. In support thereof, Plaintiffs state:

I.     PROCEDURAL BACKGROUND

       1.      The Plaintiffs’ claims include an “opt-in” collective action under the Fair Labor

Standards Act (“FLSA”) by which a “similarly situated” driver must provide an executed

“consent to join” the case as to his or her claim for unpaid overtime wages against the Defendant.

       2.      In granting Plaintiffs’ Motion for Conditional Certification of the case as a

collective action under the FLSA, by Orders dated August 20, 2015 and August 25, 2015, the

Court ordered Defendant to provide Plaintiffs’ Counsel with the names, addresses, and phone

numbers of putative opt-in Plaintiffs. (Doc. Nos. 146 and 148).
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        3.     In the Court’s Supplemental Scheduling Order dated September 18, 2015, the

Court provided that the opt-in period would close January 30, 2016. (Doc. No. 150).

        4.     Pursuant to the Court granting Conditional Certification and approving the Notice

to putative opt-in Plaintiffs, the Parties agreed to send Notice to putative opt-in Plaintiffs stating

that, to be included in the FLSA collective action, the recipient should “return” the consent to

join by January 30, 2016. (Exhibit A).

        5.     Plaintiffs’ Counsel employed a third-party, Angeion Group, to assist Plaintiffs’

Counsel in receiving and processing the relevant executed consents to join from putative opt-in

Plaintiffs.

        6.     By Joint Motion dated March 15, 2016, the Parties notified the Court that

Defendant had inadvertently failed to provide to Plaintiffs’ Counsel the relevant contact

information as to 50 putative opt-in Plaintiffs. (Doc. No. 204). Pursuant to that Joint Motion, by

Order dated March 17, 2016, the Court authorized notice of consents to join to be sent to those

50 putative opt-in Plaintiffs, and providing an opt-in period for those 50 putative opt-in Plaintiffs

for a period of 107 days. (Doc. No. 208). Plaintiffs’ Counsel and Defendant’s Counsel agreed

that the 107-day opt-in period for those consents to join would not begin until Angeion Group

could compile the relevant information and mail the notice to the 50 putative opt-in Plaintiffs;

Angeion Group mailed those 50 notices on March 23, 2016, so that the 107-day opt-in period

ended July 8, 2016.

II.     THE OPT-IN PLAINTIFFS RECEIVING                          LATE       NOTICE       DUE      TO
        DEFENDANT’S INADVERTENT OMISSION

        7.     Among those 50 putative opt-in Plaintiffs for whom the Defendant inadvertently

did not provide timely contact information to Plaintiffs’ Counsel, and for whom the opt-in period




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was extended to July 8, 2016, included James Brittle, Donald Dowdy and Howard Megill. (Doc.

No. 204-1).

       8.      The three respective executed consents to join for James Brittle, Donald Dowdy

and Howard Megill, were mailed to Angeion Group, postmarked between March 28, 2016 and

April 9, 2016 and received by Angeion between April 1, 2016 and April 15, 2016. (Docs. 204

and 208).

       9.      Plaintiffs’ Counsel allowed for Angeion Group to receive additional consents to

join from any of the other 50 relevant putative opt-in Plaintiffs through the July 8, 2016 deadline,

and forthwith, filed with the Court the executed consents to join for James Brittle, Donald

Dowdy and Howard Megill on July 11, 2016. (Doc. No. 256).

III.   THE 66 OPT-IN PLAINTIFFS WHOSE CONSENTS TO JOIN WERE
       POSTMARKED OR RECEIVED BY THE JANUARY 30, 2016 DEADLINE

       10.     Angeion Group received a total of 65 executed consents to join from putative opt-

in Plaintiffs either by fax or email within a few days before or on January 30, 2016, or by mail

postmarked on or before January 30, 2016. (Declaration of Troy Walitsky, marked hereto as

Exhibit B). Those 65 consents to join were filed with the Court between February 1, 2016 and

February 5, 2016. (Doc. Nos. 189, 190 and 192).

       11.     One other driver, Read Tillotson, faxed his executed consent to join to Plaintiffs’

Counsel, Brady & Associates, on Saturday, January 30, 2016. (Declaration of Diana Brady,

marked hereto as Exhibit C). Ms. Brady responded by forwarding Mr. Tillotson’s consent to join

to Angeion Group either Monday, February 1, 2016 or Tuesday, February 2, 2016. (Id.). Mr.

Tillotson’s consent to join was filed with the Court on February 2, 2016. (Doc. No. 191).




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       12.     Plaintiffs’ counsel and Defendant’s counsel conferred, and jointly agree that these

consents to join described above were timely filed pursuant to the terms of the Notice because

the consents to join were received or postmarked by the date set forth in the Notice.

IV.    THE 20 OPT-IN PLAINTIFFS WITH UNDELIVERABLE ADDRESSES

       13.     As to 20 drivers, the notice of their right to join the lawsuit was mailed to them at

the addresses provided by Defendant but was returned to Angeion Group as undeliverable.

(Declaration of Troy Walitsky, marked hereto as Exhibit D). In order for those 20 drivers to

receive the notice of their right to execute a consent to join, Angeion Group was required to

perform a “skip-trace” to obtain a current address for each of them, then mail the notice to their

current addresses, thereby reducing the time those 20 drivers had to respond by executing and

providing a consent to join. (Id.) Angeion Group received the executed consents to join for

those 20 drivers on the following dates:

       Jeffrey Williams, February 2, 2016
       Elden Baker, February 2, 2016
       Christopher Angelo, February 3, 2016
       Yancy Quinones, February 5, 2016
       Charles Overton, February 9, 2016
       Rodney Sistrunk, February 18, 2016
       Ricia Shaw (Ricia Dean), February 18, 2016
       Quintella Hypolite, February 18, 2016
       John Stokes, February 18, 2016
       Jean-Issac Parent, February 18, 2016
       Dewayne Keith Norris, February 18, 2016
       Timothy Hollinger, February 22, 2016
       Richard Bryant, February 22, 2016
       Peter Rivera, March 2, 2016
       Brian Smith, March 7, 2016
       Yvette Merriweather, March 14, 2016
       Matthew Oiler, March 14, 2016
       Kenneth Hockensmith, April 1, 2016
       Charles Thomas, Jr., April 15, 2016
       Randy Johnson, June 9, 2016




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       14.     Of those 20 drivers, consents to join were filed with the Court for three of them,

Christopher Angelo, Elden Baker and Jeffrey Williams, on February 5, 2016. (Doc. No. 192).

The filing of the consent to join for the other 17 drivers has been held in abeyance pending leave

to file them pursuant to the instant Motion.

V.     THE OPT-IN PLAINTIFFS WHO DID NOT RECEIVE TIMELY NOTICE OR
       WHO OTHERWISE RETURNED CONSENTS TO JOIN AFTER JANUARY 30,
       2016

       15.     In addition to drivers in the categories listed above, an additional 83 drivers have

executed and provided consents to join. Of those 83 drivers, 35 have provided declarations as to

why each of them did not, or were unable to, submit a timely consent to join by the January 30,

2016 end of the opt-in period. (Declaration of Caleb Holland, marked hereto as Exhibit E;

Declaration of Curtis McNeill, marked hereto as Exhibit F; Declaration of Andre Hocklenert,

marked hereto as Exhibit G; Declaration of Donald Dowdy, marked hereto as Exhibit H;

Declaration of Dewayne Walker, marked hereto as Exhibit I; Declaration of George Fortress,

marked hereto as Exhibit J; Declaration of Marlon Miller, marked hereto as Exhibit K;

Declaration of Mark Oaks, marked hereto as Exhibit L; Declaration of Lionel Richardson,

marked hereto as Exhibit M; Declaration of Anthony Santana, marked hereto as Exhibit N;

Declaration of Rhoda Glenn, marked hereto as Exhibit O; Declaration of Michael McKeehan,

marked hereto as Exhibit P; Declaration of Rocky L. Hammond, marked hereto as Exhibit Q;

Declaration of Rodney China, marked hereto as Exhibit R; Declaration of Norman Myers,

marked hereto as Exhibit S; Declaration of Anthony Gillespie, marked hereto as Exhibit T;

Declaration of Edward Brawner, Jr., marked hereto as Exhibit U; Declaration of Dwight Butler,

marked hereto as Exhibit V; Declaration of Eric Whaley, marked hereto as Exhibit W;

Declaration of Frank Russo, marked hereto as Exhibit X; Declaration of Hans Lowes, marked

hereto as Exhibit Y; Declaration of Harold Hatch, marked hereto as Exhibit Z; Declaration of
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Howard McKie, marked hereto as Exhibit AA; Declaration of Jason Johnson, marked hereto as

Exhibit BB; Declaration of Jon Zagorski, marked hereto as Exhibit CC; Declaration of Jonathan

Savage, marked hereto as Exhibit DD; Declaration of Keith Fennell, marked hereto as Exhibit

EE; Declaration of Kevin Shuler, marked hereto as Exhibit FF; Declaration of Rene Ortega,

marked hereto as Exhibit GG; Declaration of Robert Turner, marked hereto as Exhibit HH;

Declaration of Roderick Dandridge, marked hereto as Exhibit II; Declaration of Stacey Pittman,

marked hereto as Exhibit JJ; Declaration of Tommy Modlin, marked hereto as Exhibit KK;

Declaration of Walter Hatfield, marked hereto as Exhibit LL; Declaration of Harold Yates,

marked hereto as Exhibit MM.

       16.     Those 83 drivers who returned consents to join after January 30, 2016, and the

dates their respective consents to join were returned, are as follows:

              1.    Franklin Hoyle            August 10
              2.    Nathaniel Cradle          August 5
              3.    Billy Green               July 27
              4.    Matthew Jackson           July 1
              5.    Ahmad Cail                June 6
              6.    Alan Hines                June 6
              7.    Joshua Haycox             June 3
              8.    Anthony Santana           June 1
              9.    Arron Woodard             June 1
              10.   Booker Moore              June 21
              11.   Cuauhtemoc Lopez          June 28
              12.   David Braxton             June 1
              13.   Nelson Vasquez            May 31
              14.   Donald Dowdy              April 15
              15.   DeWayne Walker            June 7
              16.   Edwin Enamorado           March 30
              17.   Byron Coats               March 18
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    18.   Scott Moderson          March 18
    19.   Wedrel Broadway         March 18
    20.   Tamu Slaughter          March 11
    21.   Allen Felton            March 2
    22.   Kevin Perkins           February 18
    23.   Phillip Cross           February 18
    24.   Timothy Tucker          February 18
    25.   Anderson Brihm          February 9
    26.   Demorris Speight        February 9
    27.   Francis McNeil          February 8
    28.   Andrew Fanin            February 5
    29.   Dennis Westry           February 5
    30.   Frederick Collins, Sr   February 3
    31.   Kevin Stocklaufer       February 3
    32.   Gary Glover             February 2
    33.   Ilesa Bradley           February 2
    34.   Maurice Chuang          February 2
    35.   Michael Ballard         February 2
    36.   Todd Boring             February 2
    37.   Gary Ross, Jr.          February 1
    38.   Glenn Russ              June 1
    39.   Gregory Wiggins         June 1
    40.   Jonathan Simmons        June 1
    41.   Mark Oaks               June 1
    42.   Marlon Miller           June 1
    43.   Michael McKeehan        June 1
    44.   Paul Stoner             June 1
    45.   Randy Johnson           June 9
    46.   Rhoda Glenn             June 1
    47.   Rocky Hammond           June 1
    48.   Terrence Green          June 1

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    49.   Tyrius Smith         June 1
    50.   Albreanna Patric     July 13
    51.   Anthony Gillispie    July 13
    52.   Curtis Sellers       July 13
    53.   Edward Brawner       July 13
    54.   Eric Whaley          July 13
    55.   Frank Russo          July 13
    56.   Hans Lowes           July 13
    57.   Harold Hatch         July 13
    58.   Jason Johnson        July 13
    59.   Jon Zagorski         July 13
    60.   Kevin Shuler         July 13
    61.   Howard McKie         July 13
    62.   Reginald White       July 13
    63.   Rene Ortega          July 13
    64.   Robert Turner        July 13
    65.   Roderick Dandridge   July 13
    66.   Stacey Pittman       July 13
    67.   Timothy Murdoch      July 13
    68.   Tommy Modlin         July 13
    69.   Tyrone Williams      July 13
    70.   William Thomas       July 13
    71.   George Fortress      February 9
    72.   Dwight Butler        February 18
    73.   Jonathan Savage      February 18
    74.   Keith Fennell        February 12
    75.   Keith Patterson      February 5
    76.   Walter Hatfield      February 18
    77.   Norman Myers         February 3
    78.   Harold Yates         February 8
    79.   Lionel Richardson    February 8

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               80.   Andre Hochlenert          April 15
               81.   Caleb Holland             February 5
               82.   Curtis McNeill            February 5
               83.   Rodney China              August 15

(Declaration of Troy Walitsky, marked hereto as Exhibit B).

         17.     Three drivers declare that they did return the executed consent to join to Angeion

Group before January 30, 2016.        (Exhibits E, F and MM). The records of Angeion Group

indicate that Angeion Group received two of those consents to join on February 5, 2016 and

received the other consent to join on February 8, 2016. (Exhibit B).

         18.     Thirty drivers have declared that they did not receive timely opt-in notice, or were

otherwise precluded from timely responding to the opt-in notice due to driving on the road for

work for extended periods of time or for other personal reasons. (Exhibits G, H, I, K, L, M, N, O,

P, Q, R, S, T, V, W, X, Y, Z, AA, BB, CC, DD, EE, FF, GG, HH, II, JJ, KK, LL, MM).

         19.     One driver, George Fortress, declares that he does not know why his consent to

join was received late. (Exhibit J). Nonetheless, Angeion Group received Mr. Fortress’ consent

to join on February 9, 2016, only 10 days after the end of the opt-in period. (Exhibit B).

         20.     One driver mistakenly believed the notice related to a different class action

against the Defendant for which he was already a party plaintiff, so he, for a time, ignored the

notice. (Exhibit T).

VI.      ARGUMENT AND AUTHORITIES

      The Court’s relevant Scheduling Orders identify the end of the opt-in periods. Specifically,

the opt-in period generally ended on January 30, 2016, except for the 50 drivers who Defendant

inadvertently omitted from the initial list to Plaintiffs’ Counsel, whose opt-in period ended July

8, 2016, as described above. The relevant Notice approved by the Parties pursuant to the Court


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granting Conditional Certification instructed putative opt-in Plaintiffs to “return” executed

consents to join by January 30, 2016.

   As to the consents to join received by Angeion Group, or that were otherwise postmarked by

January 30, 2016, and which have been filed, the Court should accept those opt-in Plaintiffs as

timely. In Hurt v. Commerce Engery, Inc., 2014 W.L. 494571 (N.D. Ohio Feb. 6, 2014), the

relevant scheduling order set a “closeout deadline” for consents to join without specifying

whether that deadline referred to the date of return, the date for receipt, or the date for filing. Id.

at *1. The notice stated that the executed consent to join were to be postmarked by the deadline.

Id. The court rejected the defendant’s motion to strike consents to join postmarked by the

deadline, but not filed until later. Id. The court reasoned that the relevant opt-in plaintiffs

complied with the notice, and that the filing of those consents to join after the deadline was of

little import. Id.; see also Benaidez v. Piramides Mayas, Inc., 2013 W.L. 1627947 *3 (S.D.N.Y.

April 16, 2013). Ruggles v. Wellpoint, Inc., 687 F. Supp. 2d 30, 37-38 (N.D.N.Y. Oct. 14, 2009).

Thus, in the instant matter, the Court should approve and accept the following consents to join

which have previously been filed with the Court: 1) the three consents to join filed on July 11,

2016 for opt-in Plaintiffs who were among the 50 drivers who were omitted from the original list

of drivers to receive notice; 2) the 65 drivers whose consents to join were received by Angeion

Group or whose consents to join were postmarked by January 30, 2016 and received by Angeion

Group thereafter, which were filed with the Court between February 1, 2016 and February 5,

2016; 3) the three drivers whose consents to join were subject to “skip tracing” by Angeion

Group which were filed with the Court on February 5, 2016.

   Moreover, even as to untimely returned consents to join, as discussed below, courts have

accepted or allowed late-filed consents to join, even without “good cause,” for judicial efficiency

of avoiding subsequent lawsuits by the otherwise excluded individuals, absent a showing of
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substantial prejudice by the defendant. Hurt, 2014 W.L. 494571 Id. at *1-2; Benavidez, 2013

W.L. 1627947 at *3; In re Wells Fargo Home Mortgage Overtime Pay Litigation, 2008 W.L.

471269 *2-3 (N.D. Cal. Oct. 23, 2008); Ruggles, 687 F. Supp. 2d at 37-38; Heaps v. Safelite

Solutions, LLC, 2011 W.L. 67490053 (S.D. Ohio Dec. 22, 2011). To date, there have been 1,951

consents to join filed in this case. Thus, granting leave to allow the additional 83 consents to

join, which would constitute only additional 4.25 % of opt-in Plaintiffs, will not cause substantial

prejudice to the Defendant.     See Hurt, 2014 W.L. 494571 at *1 & n. 13; Wells Fargo, 2008

W.L. 4712769 at *2-3 Benavidez, 2013 W.L. 1627947 at *3; Heaps, 2011 W.L. 6749053 at *2.

   To the extent that the Court will require good cause for untimely returns of consents to join,

as to the 35 putative opt-in Plaintiffs who have submitted declarations explaining why they did

not return timely consents to join, being away from home for extended periods of time or lack of

actual timely receipt of the notice to join otherwise constitutes “good cause.” Thompson v. Peak

Energy Services, Inc., 2014 W.L. 789087 *2 (W.D. Pa. Feb. 26, 2014).

VII.   CONCLUSION

       WHEREFORE, for the foregoing reasons, the Court should accept the consents to join

that have been filed after January 30, 2016. Also, for the foregoing reasons, the Court should

grant leave for the Plaintiffs to file the additional 83 consents to join discussed herein.



                                                       BRADY & ASSOCIATES

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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of September, the above and foregoing was filed with
the Clerk of the Court via CM/ECF that sent notification to the following:


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